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                        UNITED STATES DISTRICT COURT
                                          District of Minnesota



Lee Michael Pederson                                  JUDGMENT IN A CIVIL CASE
                                    Plaintiff(s),
v.                                                         Case Number: 17-cv-5580 (WMW/BRT)
Phillip Frost; Opko Health, Inc.; Brian Keller;
CoCrystal Pharma, Inc., and J. Does 1-50,

                                    Defendant(s).

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     1. Plaintiff Lee Michael Pederson’s objections to the July 11, 2018 R&R, (Dkt. 75), are
       OVERRULED.

     2. The July 11, 2018 R&R is ADOPTED.

     3. Defendants’ motion to dismiss the amended complaint, (Dkt. 59), is GRANTED.

     4. The amended complaint, (Dkt. 49), is DISMISSED WITHOUT PREJUDICE for lack of
        personal jurisdiction.

     5. Plaintiff Lee Michael Pederson’s written and oral requests to supplement the record,
       (Dkts. 67, 71), are DENIED.



      Date: 9/13/2018                                         KATE M. FOGARTY, CLERK

                                                                      s/M. Price
                                                         (By) M. Price, Deputy Clerk
